 

 

’

Case 2:18-mj-00441-PLM Document1 Filed 09/21/18 Page 1 of 26

FUR NTERED
aomamanceenth() TO Rev. Of/T0y Api ‘icat Ef) 2 Search Warrant

 

SEP 21 2018 UNITED STATES DISTRICT COURT
AT SEATTLE for the
wesSEiN eeaY OC UAIErON Westem District of Washington

BY

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

coon MUI R= HG

Google, Inc. Subject Accounts 1-3, further described in
Attachment A

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the

P "ESOGIE, nie. EER Counts (1) toddsmckennon@gmail.com (2) lindsayjmckennon@gmail.com
(3) OliviaDreamLover@gmail.com, further described in Attachment A, attached hereto and incorporated herein.

located in the Northern _ District of California , there is now concealed (identify the

person or describe the property to be seized):
See Attachment B, which is attached hereto and incorporated herein by this reference.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
Wf evidence of a crime;
© contraband, fruits of crime, or other items illegally possessed;
Mf property designed for use, intended for use, or used in committing a crime;

C1 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description ;
18 U.S.C. § 1952 ‘ Interstate and foreign travel or transportation in aid of racketeering enterprises
18 U.S.C. § 2421 Transportation of any individual in interstate or foreign commerce
18 U.S.C. § 1956 _ Money Laundering

The ap lication is based on these facts: . .
See affidavit which is attached hereto and incorporated herein by this reference.

m Continued on the attached sheet.
[) Delayed notice of ___ days (give exact ending date if more than 30 days: ) is requested

under 18 U.S.C. § 3103a, the basis of which is set forth on the attached ‘Dy

Applicant’s signature

Joshua Anderson, Special Agent, FBI

 

 

 

Printed name and title
Sworn to before me and signed in my presence. —
Date: 09/21/2018 i Ont LacVer
” Judge’s signature ~
City and state: Seattle, Washington Paula L. McCandlis, United States Magistrate Judge

 

 

Printed name and title

 
o Oo YN HN A FP WO NO

No bo i) No bo No bo i) iw) — — — —_ — a — — —
o st HD OW BP WH NYO |SH COC OO DAN DB WA BP WO NO KF CO

 

 

 

Case 2:18-mj-00441-PLM Document 1. Filed 09/21/18 Page 2 of 26

ATTACHMENT A
GOOGLE, INC. ACCOUNTS TO BE SEARCHED
The electronically stored data, information and communications contained in,
related to, and associated with, including all preserved data associated with the following
Google, Inc. accounts, that are stored at premises controlled by Google, Inc., a company

that accepts service of legal process at 1600 Amphitheatre Parkway, Mountain View,

California: .
toddsmckennon@gmail.com, (Subject Account #1)
lindsayjmckennon@gmail.com and (Subject Account #2)
OliviaDreamLover@gmail.com (Subject Account #3)
ATTACHMENT A - 1 UNITED STATES ATTORNEY
USAO #2017R01046 Oe eee SUE

SEATTLE, WASHINGTON 98101
(206) 553-7970

 
o OH ND nA BP WO NO —

NO NO BN Hb KH NH NY NH HO —- = = Se Se Se Ss eS ee
on NHN ON BR WW NY KH CO OO Dn DB NH BR WO NBO KF OC

 

 

Case 2:18-mj-00441-PLM Document1 Filed 09/21/18 Page 3 of 26

ATTACHMENT B
I. Section I - Information to be disclosed by Google, Inc., for search:

To the extent that the information described in Attachment A is within the
possession, custody, or control of Google, Inc., including any data, messages, records,
files, logs, or information that has been deleted but is still available to Google, Inc., or
has been preserved pursuant to a request made under 18 U.S.C. § 2703(f), Google, Inc. is
required to disclose the following information to the government for each account or
identifier listed in Attachment A: .

a. All electronic mail content and/or preserved data (including e-mail,
attachments, and embedded files);

b. All subscriber records associated with the specified account,
including 1) names, e-mail addresses, and screen names; 2) physical addresses; 3) records
of session times and durations; 4) length of service (including start date) and types of
services utilized; 5) telephone or instrument number or other subscriber number or
identity, including any temporarily assigned network address such as internet protocol
address, media access card addresses, or any other unique device identifiers recorded by
Google in relation to the account; 6) account log files (login IP address, account
activation IP address, and IP address history); 7) detailed billing records/logs; 8) means
and source of payment; and 9) lists of all related accounts;

C. all contact lists;

d. all Google Calendar content;

e. all Google Drive content (including backups of any apps stored on
Google Drive; |

| f. all Google Sheets content;
g. all Google Forms content;
h. all Google Apps Script content;
1. all Google Maps content;
j- all Google Photos content;

SAO #201 7ROLOSS. 700 STEWART STRECT, SUITE 3220

SEATTLE, WASHINGTON 98101
(206) 553-7970

 
 

eo HF ND A BP WO NH

NO NO NO NH HO NH NY YN NO RHR S| = Se Se SS = eS Re
ao NN OW BR WN KH OD Oo On HD nN BW NH KF OC

 

 

Case 2:18-mj-00441-PLM Document1 Filed 09/21/18 Page 4 of 26 |

k. all Google Search Console content;
1. all Google Web & Activity content;

m. all Google Chrome Sync content;

n. all Google Location History content;

oO. all Google Developers Console content;

p- all Google Voice content;

q- all Android content;

r. all Google Alerts content;

S. all Google Profile content, including all Google+ content;

t. all account history, including any records of communications

between Google and any other person about issues relating to the accounts, such as
technical problems, billing inquiries, or complaints from other users about the specified
account. This to include records of contacts between the subscriber and the provider’s
support services, as well as records of any actions taken by the provider or subscriber in
connection with the service.

This Search Warrant also requires Google to produce the following information
for accounts linked to the SUBJECT ACCOUNTS (collectively the “LINKED
SUBJECT ACCOUNTS”):

a. a list of all other Google accounts linked to the SUBJECT
ACCOUNTS because of cookie overlap;

b. a list of all other Google accounts that list the same SMS phone
number as the SUBJECT ACCOUNTS;

c. a list of all other Google accounts that list the same recovery e-mail
address as the SUBJECT ACCOUNTS;
d. and a list of all other Google accounts that shared the same creation

IP address the SUBJECT ACCOUNTS within 30 days of creation;

ATTACHMENT B - 2 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
USAO #2017R01046_ SEATTLE, WASHINGTON 98101

(206) 553-7970

 

 
0 ONY A WB wWNw =

No NHN NY NY NY NY NY N NO RRR Re RPO ROO Ree ee
Oo ny NHN OT FP WN FH COD OO HA HD OW BP WD NH — CS

 

 

Case 2:18-mj-00441-PLM Document1 Filed 09/21/18 Page 5 of 26

e. Subscriber records for each of the Linked Subj ect Accounts
including 1) names, e-mail addresses, and screen names; 2) physical addresses; 3) records
of session times and durations; 4) length of service (including start date) and types of
services utilized; 5) telephone or instrument number or other subscriber number or
identity, including any temporarily assigned network address such as internet protocol

address, media access card addresses, or any other unique device identifiers recorded by

Google in relation to the account; 6) account log files (login IP address, account

activation IP address, and IP address history); 7) detailed billing records/logs; 8) means
and source of payment; and 9) lists of all related accounts. |
f. All records and other information (not including the contents of

communications) relating to the Linked Subject Accounts, including: |

ia ‘Records of user activity for each connection made to or from
the Account(s), including log files; messaging logs; the date time, length, and method of
connections, data transfer volume; user names; and source and destination Internet
Protocol Addresses; cookie IDs; browser type;

il. Information about each communication sent or received by
the Account(s), including the date and time of the communication, the method of
communication, and the source and destination of the communication (such as source and
destination e-mail addresses, IP addresses, and telephone numbers);

iii. All records pertaining to devices associated with the accounts
to include serial numbers, model type/number, IMEI, phone numbers, MAC Addresses.
Il. Information to be seized by the government

All information described above in Section I that constitutes fruits, contraband,
evidence and instrumentalities of (a) Interstate and foreign travel or transportation in aid
of racketeering enterprises in violation of 18 U.S.C § 1952; (b) Transportation for
purposes of prostitution in violation of 18 U.S.C. § 2421; and (c) Money laundering in
violation of 18 U.S.C. § 1956 those violations occurring between January 2017 to the

ATTACHMENT B - 3 . UNITED STATES ATTORNEY

USAO #2017R01046 700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101

(206) 553-7970

 
NO NYO wpe HN HN NH HN HN NO = HH eRe RS ee
on DN OA FP WH YN K§ CO YO Dn Dn BW NY | SO

0 ONY HAH BR WN HK.

 

 

Case 2:18-mj-00441-PLM Document1. Filed 09/21/18 Page 6 of 26

present, for each of the SUBJECT ACCOUNTS listed on Attachment A, and any linked
accounts, including the following:

a. Content that serves to identify any person who uses or accesses the
subject account or who exercises in any way any dominion or control over the account;

b. Content relating to planned, attempted, or successful breaches of or
intrusions into victims’ computers or networks;

C. Content relating to the creation, acquisition, transfer, sharing, testing
or sale of malicious software;

d. Content related to computer programing, software operations, and
networking;

e. Content relating to the acquisition, transfer, sharing, sale, or disposal
of servers, e-mail accounts, or other web services accounts used by the account holder or
co-conspirators to facilitate computer intrusions;

f. Content that identifies victims of computer intrusions perpetrated by
the account holder or co-conspirators: |

g. Content that constitute communications in furtherance of the crimes
enumerated above;

h. Content relating to the acquisition, transfer, distribution, sharing or
sale of stolen credit card, debit card, gift card, or payment card numbers;

1. Content that may identify assets including bank accounts,
commodities accounts, trading accounts, personal property and/or real estate that may
represent proceeds of computer intrusion activity or fraud or are traceable to such
proceeds;

j. Content that may reveal the current or past location of the individual
or individuals using the subject account;

k. Content that may reveal the identities of and relationships between

co-conspirators;

ATTACHMENT B - 4 - UNITED STATES ATTORNEY

USAO #2017R01046 700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101

(206) 553-7970

 
oO Oe SH DH nA BR DH YY

NO NO HN KN KN KN DH KR NO Rw wm meet
oN HD OA BR WW NY K& CO OO WA DA NA FHF W NH KF CO

 

 

 

Case 2:18-mj-00441-PLM Document1 Filed 09/21/18 Page 7 of 26

1. Content that may identify any alias names, online user names,
“handles” and/or “nics” of those who exercise in any way any dominion or control over
the specified account as well as records or information that may reveal the true identities
of these individuals;

m. Other log records, including IP address captures, associated with the
specified account;

n. Subscriber records associated with the specified account, including
1) names, e-mail addresses, and screen names; 2) physical addresses: 3) records of
session times and durations; 4) length of service (including start date) and types of
services utilized; 5) telephone or instrument number or other subscriber number or
identity, Including any temporarily assigned network address such as internet protocol
address, media access card addresses, or any other unique device identifiers recorded by
Google, Inc. in relation to the account; 6) account log files (login IP address, account
activation IP addresses, and IP address history); 7) detailed billing records/logs; 8) means
and source of payment; and 9) lists of all related accounts;

oO. Records of communications between Google, Inc. and any person
purporting to be the account holder about issues relating to the account, such as technical
problems, billing inquiries, or complaints from other users about the specified account.
This to include records of contacts between the subscriber and the provider’s support ©
services, as well as records of any actions taken by the provider or subscriber as a result
of the communications.

p. Android identification number, MEID, and cellular telephone

number
q. Information identifying accounts that are linked or associated with
the SUBJECT ACCOUNTS.
ATTACHMENT B - 5 UNITED STATES ATTORNEY
USAO #2017R01046 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970

 

 
 

So Oo SI DB A PP WH HO

NO NO WN HN KH WO KN KN DR wR wm me eR mee
oOo nN KH A BP WY NY KK CO BO DBA DB A BR WY NO — CO

 

 

Case 2:18-mj-00441-PLM Document1 Filed 09/21/18 Page 8 of 26

AFFIDAVIT OF JOSHUA ANDERSON

STATE OF WASHINGTON )
) ss
COUNTY OF KING )

I, Joshua Anderson, having been duly sworn, state as follows:
AFFIANT BACKGROUND

1. I am a Special Agent with the Federal Bureau of Investigation (FBI) and
have been so since January 2017. I am currently assigned to an Organized Crime and
Public Corruption Squad within the Seattle Division of the FBI. During my employment
with the FBI, I have investigated various federal criminal violations, to include human
trafficking and prostitution. I have attended the Federal Bureau of Investigation Basic
Field Training Course for new Special Agents, and attended training in prostitution and
human trafficking investigations at the Seattle Field Office. I have participated in
multiple prostitution and human trafficking investigations, to include criminal violations
of federal human trafficking-related offenses, during the course of which I have
participated in physical surveillance and executions of warrants.

2. I am familiar with common methods of investigating human trafficking and
prostitution organizations, and have become familiar with the methods of operation of
human traffickers, including, but not limited to: their methods of transporting sex
workers, advertising prostitution services, concealing prostitution activities, their use of
cellular telephones, their use of mobile applications, their use of code words, counter-
surveillance, and other methods of avoiding detection of law enforcement. I am also
familiar with the various methods of concealing and laundering the proceeds of
prostitution activities.

EMAILS TO BE SEARCHED

3. I make this Affidavit in support of an application for a Search Warrant
authorizing the examination of the following email accounts (the “Subject Email
Accounts”): toddsmckennon@gmail.com, lindsayjmckennon@gmail.com and

AFFIDAVIT OF JOSHUA ANDERSON - 1 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
USAO #2017R01046 SEATTLE, WASHINGTON 98101

(206) 553-7970

 
 

oOo Oe AN KH nW F&F WY BO =

pO NYO NH NH NY NY WN HN KN HR Re = eR RR me oe
eH THD A BP WO NYO K& CO OO Wn DH NA BR WO HB &H C

 

 

Case 2:18-mj-00441-PLM Document1 Filed 09/21/18 Page 9 of 26

OliviaDreamLover@gmail.com including all subscriber and log records associated with
these accounts.

4. The domain name gmail.com is owned and operated by webhost and email
service provider Google, Inc. (“Google”), located at 1600 Amphitheatre Parkway,
Mountain View, California, 94043. The information to be searched is described in the
following paragraphs and in Attachment B, and is stored at a premises controlled by
Google.

5. This affidavit is made in support of an application for a search warrant
under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A) to require Google to
disclose to the government copies of the information (including the content of
communications) further described in Section I of Attachment B. Upon receipt of the
information described in Section I of Attachment B, government-authorized persons will
review that information to locate the items described in Section II of Attachment B.

SCOPE OF AFFIDAVIT

6. The facts set forth in this Affidavit are based on my own personal
knowledge; knowledge obtained from other individuals during my participation in this
investigation, including other law enforcement officers; review of documents and records
related to this investigation; communications with others who have personal knowledge
of the events and circumstances described herein; and information gained through my
training and experience. Because this Affidavit is submitted for the limited purpose of
establishing probable cause in support of the Application for a Search Warrant, it does
not set forth each and every fact that I, or others, have learned during the course of this
investigation but rather those relevant to the question of whether probable cause exists to
issue the requested search warrant.

THE INVESTIGATION
7. In August of 2017, a woman named L.M. contacted the Federal Bureau of

Investigation (FBI) in Seattle, Washington, and provided information about her pimp,

AFFIDAVIT OF JOSHUA ANDERSON - 2 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
USAO #2017R01046 SEATTLE, WASHINGTON 98101

(206) 553-7970

 
So ON HD On BP WD NY

NY NO NO WN NH NY NO HN NH | HF Fe Fe Fe RF eS et
ost DH MN BP WOW NY K& CO OO Dns HD A BR WO NO KF OC

 

 

Case 2:18-mj-00441-PLM Document1 Filed 09/21/18 Page 10 of 26

Todd McKennon. L.M. explained that McKennon had recently assaulted her and that she
was fearful of him.

8. During this interview L.M. stated that she met McKennon after responding

to an advertisement on Craigslist about becoming a model. However, when L.M. met

McKennon, instead discussing opportunities in modeling, McKennon recruited her to
become a sex worker for him.

9. In early 2017, L.M. began working for McKennon. L.M. stated that
McKennon had her post prostitution advertisements on various internet web sites.
McKennon would rent hotel rooms at local hotels where L.M. would meet the
prostitution customers. She said that some of the hotels McKennon used were the
Residence Inn by Marriott Bellevue, Courtyard by Marriott Kirkland, Hyatt Regency
Bellevue, Hyatt House Bellevue and Hyatt House Redmond. |

10. LL.M. also stated that on one occasion, McKennon had her fly to Hawaii and
engage in prostitution with a high-paying customer for approximately one week.!

11. L.M. stated McKennon would split the prostitution proceeds with her.’
McKennon would have L.M. deposit his share of the proceeds into his bank account by
utilizing a debit card.

12. After a period of time, L.M. stated that she and McKennon became
romantically involved and she began living with him. L.M. believed, based on what she
learned from McKennon, that he has been involved in prostitution for approximately two
decades. According to L.M., McKennon was known as “Mr. Kirkland” and that he had
several sex workers consistently working for him in Kirkland, Bellevue, Redmond, and
Seattle. L.M. also stated that McKennon had supported himself for years through

prostitution.

 

'! T located an advertisement posted by L.M. that stated that she had recently returned from Hawaii but further
details were not provided.
? Initially, McKennon allowed L.M. to keep 60% of the proceeds but later reduced it to 50%.

AFFIDAVIT OF JOSHUA ANDERSON - 3 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
USAO #2017R01046 . SEATTLE, WASHINGTON 98101

(206) 553-7970

 

 
 

Oo en NH nA BP WO VHP =

ww WKH NY WN NY WH ND H&B ee em me ee ee
oN A UW BR WH NYO FP OOo ON DWH BB wWNY KF OO]

 

 

Case 2:18-mj-00441-PLM Document1 Filed 09/21/18 Page 11 of 26

13. L.M. believed that McKennon would also occasionally facilitate and |
arrange for out of state prostitution activities. In approximately May 2017, McKennon
sent her to Hawaii to work for five days with one customer. .

14. During the August 2017 interview, L.M. indicated that she was fearful of
McKennon and expressed a desire to get away from him. The FBI assisted L.M. in flying
to Alaska, where she was from, as a way to protect her. The FBI lost contact with L.M.
after she returned to Alaska. A short time later, the FBI learned of L.M. was back in
Washington working for McKennon again. L.M. and McKennon appear to be
romantically involved at this point and they also live together. .

15. In checking McKennon’s background, I learned that in 2013 McKennon
was investigated by the Kirkland Police Department for promoting prostitution. I
received and reviewed Kirkland Police report WA017080. In that report, a concerned
citizen contacted the Kirkland Police Department to complain about suspicious activity
occurring at neighboring townhouse in the Springtree Condos. The complainant stated
that he/she and other neighbors had observed what they believed to be prostitution
activity occurring at the townhouse located at 11408 105 Place NE, Kirkland,
Washington. The complainant explained that they noticed males in high priced cars park
nearby and enter the residence. The males stayed for exactly one hour and would then
leave. Within 10 minutes of the men leaving the neighbors would see a woman leaving
the residence in a taxi. Within 30 minutes of the woman leaving, a black GMC Yukon

arrived backed up to the garage. The driver of the Yukon (later identified as Todd

| McKennon) would collect the garbage bags, and often a white envelope, then leave.

16. The activity stopped when the owner of the condo sold it. The owner of the
condominium has been identified as Shelly Straw who is Todd McKennon’s former
girlfriend and mother of his child. It appears that McKennon was never charged with
promoting prostitution or any other criminal activity arising out of that investigation.

17. _ Based on the information provided by L.M. the FBI and local authorities
began parallel investigations of Todd McKennon’s sexual trafficking activities.

AFFIDAVIT OF JOSHUA ANDERSON - 4 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
USAO #2017R01046 SEATTLE, WASHINGTON 98101

(206) 553-7970

 
So HN DB HA FF WY NYY —

Oo NYO NH NH NY HYD NO ND NO =| HS He FF FEF OO Se ee
oO YN DNDN OH BP WO NY KH CO OO Hn DB A BR WO NBO KF CO

 

 

Case 2:18-mj-00441-PLM Document1 Filed 09/21/18 Page 12 of 26

18. As part of that investigation, local law enforcement officers obtained a state
issued search warrant for the internet classified advertising site, TNA Board, for L.M.’s
advertisements. TNA Board is an online site that is used for advertising sexual services
such as commercial sex acts. In reviewing the information provided by TNA Board, ~
agents found an advertisement, posted on March 20, 2018, for L.M. under pseudonym
“Olivia Heart.” In this advertisement, L.M. is offering sex services for $500/hour in the
Seattle, Bellevue, Kirkland and Redmond areas. The advertisement has graphic, sexually
explicit photos of L.M. In the advertisement L.M. says “Come play and misbehave with
me! Your ultimate pleasure provider!” Further stating, “Your wish is my command,
come and spend some naughty time with me!”

19. The state law enforcement also obtained a state search warrant for L.M.’s
advertisements on another online advertising site called CityVibe. In reviewing the
information provided by CityVibe, law enforcement officers found an advertisement for
L.M. posted on February 19, 2018. In this advertisement, L.M., using her pseudonym
“Olivia Heart,” is offering sex services for $500/hour under in the Monterey, San Jose
area of California. The advertisement contains graphic, sexually explicit photos of L.M.
This advertisement states that L.M. “loves to please a man in whichever way he wants to
be pleased.” It further states, “I have a pretty good knack of finding out your turn
ons...And I will be sure you know my turn ons.” L.M.’s advertisement goes on to claim
she is, “[v]ery open minded and would love to share with you my exclusive “SND” gift
(sexy, naughty, dirty) for $500/hour." Finally it states, “I promise you will not be
disappointed.”

20. As part of the investigation, myself, as well as other FBI agents have
obtained bank records. Based on the records we learned that McKennon was renting
rooms at the Hyatt Regency Hotel in Bellevue, the Residence Inn by Marriott Seattle
Bellevue in Bellevue, the Hyatt House in Redmond, and the Courtyard by Marriott
Seattle Kirkland in Kirkland, Washington. We then subpoenaed booking records from
those hotels and learned that McKennon was booking rooms at these hotels frequently.

AFFIDAVIT OF JOSHUA ANDERSON - 5 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
USAO #2017R01046 SEATTLE, WASHINGTON 98101

(206) 553-7970

 
 

So OH NH A FP WO HN =

NNO NY YH HN WN NHN HN NHN Be om et
eo IN HD nA BP WO NO KK CO BO Dns HD A fF WW NH KH CO

 

 

Case 2:18-mj-00441-PLM Document1 Filed 09/21/18 | Page 13 of 26

21. According to the general manager at the Residence Inn Marriott in
Bellevue, McKennon has an elite membership with their national hotel chain in which he
maintains through reserving rooms for a minimum of 60 nights per year. Furthermore,
according to the general manager at the Hyatt House in Redmond and Bellevue,
McKennon has an elite membership as a “Globalist” with the Hyatt Hotel brand that is
earned by reserving rooms for a minimum of 55 nights per year. On multiple occasions,
McKennon reserves rooms at the Hyatt Regency in Bellevue utilizing the “Triple A”
discount rate in which he is upgraded to a suite. Furthermore, the “Globalist” status
allows for early check-in, which surveillance has observed, as well as for later than
normal checkout. On one instance, surveillance observed individuals departing the hotel
room after 4pm and McKennon was not charged for that night.
22. Myself and other law enforcement agents have conducted six surveillances
in the past three months at various locations and have had a chance to observe the
operation criminal enterprise. These locations include:
e Residence Inn by Marriott Seattle Bellevue on January 31, 2018, February 26,
2018, and March 23, 2018, located at 14455 NE 29th Place, Bellevue,
Washington,

e Courtyard by Marriott Seattle/ Kirkland located at 11215 NE 124th Street,
Kirkland, Washington, on January 31, 2018 and April 13, 2018;

e Hyatt House Seattle Redmond located at 15785 Bear Creek Parkway,
Redmond, Washington, on May 17, 2018 and May 18, 2018.

23. The surveillance teams observed McKennon on the premises of all of these
hotels, typically checking in and then either dropping L.M. off or picking L.M. up. At no
point during surveillance was McKennon observed staying in a hotel room for which he
had a reservation. |

| 24. Over the course of these surveillances, L.M. and another female, later
identified as D.H.S., who was identified based on Washington State Driver’s License

information obtained during surveillance, are the predominant sex workers. D.H.S. was

AFFIDAVIT OF JOSHUA ANDERSON - 6 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
USAO #2017R01046 SEATTLE, WASHINGTON 98101

(206) 553-7970

 
0 Oo YN UW B® W NY &

BO bw NO NN KH KN KN KN KN wR me wet
oOo 1 NH A SP WH NYO KH& CO OO Dn HD NA Lh WH NH —§& CO

 

 

Case 2:18-mj-00441-PLM Documert1 Filed 09/21/18 Page 14 of 26

identified after arriving at a known hotel, entering the hotel room that McKennon had
reserved, working for a couple hours and then departing in her registered vehicle. Both
L.M. and D.H.S. have been positively identified entering the rooms being used by
McKennon while McKennon is not at the hotel. D.H.S. and L.M. are very discrete when
entering or exiting the hotels. They have not been seen stopping at the front desk to
obtain a key for access to the room. They have been seen parking in hotel back lots,
using the side entrances of the hotels and using the stairs as opposed to using the main
entrance and the elevator at multiple hotel properties.

25. During the surveillances multiple men have been observed exhibiting
behaviors consistent with being sex customers. After arriving at the parking in a lot and
the customers have been observed waiting in their car. Based on my experience the
customers wait in the car until they receive a text message informing the customer which
room to go to. The men do not stop at the front desk to obtain a room key or to obtain
directions to the rooms. These customers stay in the room for approximately one hour
which is the time period noted in the escort ads. .

26. During a surveillance at the Hyatt Regency in Bellevue on June 29, 2018,
L.M. and McKennon were observed arriving to the hotel room together. McKennon and
L.M. left for a short period of time and L.M. returned alone. A few minutes later, a male
customer entered the room. After approximately one hour, the male customer departed.
A few minutes later, McKennon re-entered the room and he and L.M. departed together,
proceeding to Daniel’s Broiler for drinks and dinner. —

27. . McKennon’s behavior is consistent with someone who is running a
criminal sex organization. He has been observed arriving at hotels on the day of check-in
to pick up keys, drop off and pick up L.M. for appointments. .

28. [obtained McKennon’s bank account records for Bank of America, account
number xxxxxxxx3034, via grand jury subpoena. Based on these records, for the period
between 2016 to the present date over $500,000 has been deposited into this Account.
The FBI has verified that approximately $330,000 as being cash deposits. Records

AFFIDAVIT OF JOSHUA ANDERSON - 7 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
USAO #2017R01046 SEATTLE, WASHINGTON 98101

(206) 553-7970

 

 

 
 

—

0 ONY DN BW WD

 

 

Case 2:18-mj-00441-PLM Document1 Filed 09/21/18 Page 15 of 26

obtained from the Bank of America of account ending in 3034, show that many of the
cash deposits are made through an automated teller machine or at the counter. The bank
records the FBI has obtained shows McKennon, L.M., and D.H.S. making cash deposits
into the 3034 account. For example in a two week period, the records show that $11,000
in cash was deposited into the account. The records show that McKennon will
subsequently use the funds from this account to pay for hotel rooms and online
advertisements. .

29. Since 2012 according to the Washington State Employment Security
Department McKennon has reported no wages.

30. Inthe 2017 interview, L.M. disclosed that she and Mckennon used a °
suitcase which had sex supplies and garbage bags for cleaning up. During the
surveillance, both L.M. and D.H.S. have been observed with a roller bag while entering
the hotel. On one occasion D.H.S. was observed arriving at a hotel, carrying multiple
bags to include the roller bag while entering the hotel room. Later, D.H.S. travelled to
McKennon’s residence where she stayed for approximately two hours before returning to
the hotel where a male visited her hotel room.

31. The investigation has developed evidence that
toddsmckennon@gmail.com, lindsayjmckennon@gmail.com and
oliviadreamlover@gmail.com are being used in connection with the criminal scheme.
McKennon is utilizing the email toddsmckennon@gmail.com and
lindsayjmckennon@gmail.com for any correspondence with hotels in furtherance of his
criminal prostitution enterprise. As recently as June 2018, L.M. is utilizing
oliviadreamlover@gmail.com to post advertisements in furtherance of prostitution
activities. |

BACKGROUND REGARDING INFORMATION TECHNOLOGY

32. Google is an email service provider. Email service providers provide their
clients/subscribers with a dedicated email domain name and space on their servers for the
storage of client emails and associated files. Therefore, the computers of Google are

AFFIDAVIT OF JOSHUA ANDERSON - 8 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
USAO #2017R01046 SEATTLE, WASHINGTON 98101

(206) 553-7970

 

 
o OH HN HD On BP WD NH

NO wo NO HN WH NY NO NO NO FF | FF —*_ FSF Fe Se ZS
Oo aI HDB A FSP WB NO K& CO OO WMA ADA WA B WW NO KF CO

 

 

 

Case 2:18-mj-00441-PLM Document1 Filed 09/21/18 Page 16 of 26

likely to contain stored electronic communications (including retrieved and un-retrieved
email for Gmail users) and information concerning clients/subscribers and their use of
Google email services, respectively, such as account access information, email
transaction information, and account application information.

33. The term “computer” as used herein is defined in 18 U.S.C. § 1030(e)(1),
and includes an electronic, magnetic, optical, electrochemical, or other high speed data
processing device performing logical, arithmetic, or storage functions, and includes any
data storage facility or communications facility directly related to or operating in
conjunction with such device.

34. As explained herein, information stored in connection with an e-mail
account may provide crucial evidence of the “who, what, why, when, where, and how” of

the criminal conduct under investigation, thus enabling the United States to establish and

|| prove each element or alternatively, to exclude the innocent from further suspicion. In my

training and experience, the information stored in connection with an e-mail account can
indicate who has used or controlled the account. This “user attribution” evidence is
analogous to the search for “indicia of occupancy” while executing a search warrant at a
residence. For example, e-mail communications, contacts lists, and images sent (and the
data associated with the foregoing, such as date and time) may indicate who used or
controlled the account at a relevant time.

35. Further, information maintained by the e-mail provider can show how and
when the account was accessed or used. For example, as described below, e-mail
providers typically log the Internet Protocol (“IP’’) addresses from which users access the
email account along with the time and date. By determining the physical location
associated with the logged IP addresses, investigators can understand the chronological
and geographic context of the e-mail account access and use relating to the crime under
investigation. This geographic and timeline information may tend to either inculpate or
exculpate the account owner. Additionally, information stored at the user’s account may
further indicate the geographic location of the account user at a particular time (e.g.,

AFFIDAVIT OF JOSHUA ANDERSON - 9 00 Stew ee sane son
700 STEWART STREET, SUITE
USAO #2017R01046 SEATTLE, WASHINGTON 98101
(206) 553-7970

 

 

 
So Oo ND nH Ff WD NY

NO bw NO PD KH HH NH KN NO wR we ee ee
oa ~7T Nn A BP WO NY —-H CF CO fF A HD A FB WO NH K SC

 

 

 

Case 2:18-mj-00441-PLM Document1 Filed 09/21/18 Page 17 of 26

location information integrated into an image or video sent via email). Lastly, stored
electronic data may provide relevant insight into the e-mail account owner’s state of mind
as it relates to the offense under investigation. For example, information in the e-mail
account may indicate the owner’s motive and intent to commit a crime (e.g.,
communications relating to the crime), or consciousness of guilt (e.g., deleting
communications in an effort to conceal them from law enforcement). Based on my
training, experience and knowledge, I know the following: the internet is a global system
of interconnected computer networks that use the standard Internet Protocol Suite
(TCP/IP) to serve billions of users worldwide. It is a network of networks that consists of
millions of private, public, academic, business, and government networks, of local to ©
global scope, that are linked by a broad array of electronic, wireless and optical
networking technologies. The internet can also be defined as a worldwide
interconnection of computers and computer networks that facilitate the sharing or
exchange of information among users. The internet carries a vast range of information
resources and services, such as the inter-linked hypertext documents of the World Wide
Web (WWW) and the infrastructure to support electronic mail.

36. E-mail is a popular form of transmitting messages and files in an electronic
environment between computer users. When an individual computer user sends an e-
mail message, it is initiated at the user’s computer, transmitted to the subscriber’s mail
server, and then transmitted to its final destination. A server is a computer that is
attached to a dedicated network and serves many users. An e-mail server may allow
users to post and read messages and to communicate via electronic means.

37. E-mail providers generally ask their subscribers to provide certain personal
identifying information when registering for an e-mail account. Such information can
include the subscriber’s full name, physical address, telephone numbers and other
identifiers, alternative e-mail addresses, and, for paying subscribers, means and source of
payment (including any credit or bank account number). In my training and experience,
such information may constitute evidence of the crimes under investigation because the

AFFIDAVIT OF JOSHUA ANDERSON - 10 UNITED STATES ATTORNEY

USAO #2017R01046 ; 700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101

(206) 553-7970

 

 
 

oOo OH NAD On FF WYO NO —

NO NO NO HO KN HN NH WH HN ee Rm we
Co ~~ nN oa oS Ww N a So \O oO ~ nN WN - Ww NO pt QO

 

 

Case 2:18-mj-00441-PLM Document1 Filed 09/21/18 Page 18 of 26

information can be used to identify the account’s user or users. Based on my training and
my experience, I know that even if subscribers insert false information to conceal their |
identity, this information often provide clues to their identity, location or illicit activities.

38. E-mail providers typically retain certain transactional information about the
creation and use of each account on their systems. This information can include the date
on which the account was created, the length of service, records of log-in (i.e., session)
times and durations, the types of service(s) utilized, the status of the account (including
whether the account is inactive or closed), the methods used to connect to the account
(such as logging into the account via the provider’s website), and other log files that
reflect usage of the account. In addition, e-mail providers often have records of the
Internet Protocol address (“IP address”) used to register the account and the IP addresses
associated with particular logins to the account. Because every device that connects to
the Internet must use an IP address, IP address information can help to identify which
computers or other devices were used to access the e-mail account.

39. In some cases, e-mail account users will communicate directly with an e-
mail service provider about issues relating to the account, such as technical problems,
billing inquiries, or complaints from other users. E-mail providers typically retain
records about such communications, including records of contacts between the user and
the provider’s support services, as well records of any actions taken by the provider or
user as a result of the communications. In my training and experience, such information
may constitute evidence of the crimes under investigation because the information can be
used to identify the account’s user or users.

INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

40. Pursuant to Title 18, United States Code, Section 2703(g), this application
and affidavit for a search warrant seeks authorization to permit Google and their agents
and employees, to assist agents in the execution of this warrant. Once issued, the search

warrant will be presented to Google, with direction that the companies should identify the

AFFIDAVIT OF JOSHUA ANDERSON - 11 | UNITED STATES ATTORNEY

USAO #2017R01046 700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101

(206) 553-7970

 
 

 

Co Fe Ss NH A FP WO YN —

N WO NO DBO NH NN HN HN NO KH BR BR Re eR
oN DN ON BP WO NYO —|&§ CO OBO FH nA HDA A BR WY NY K& CO

 

 

Case 2:18-mj-00441-PLM Document 1 Filed 09/21/18 Page 19 of 26

e-mail account described in Attachment A as well as other subscriber and log records
associated with the account, as set forth in Section I of Attachment B to this Affidavit.

41. The search warrant will direct Google to create an exact copy of the
specified count and records.

42. All forensic analysis of the data will employ only those search protocols
and methodologies reasonably designed to identify and seize the items identified in
Section II of Attachment B to the warrant. Based on my experience and training, and the
experience and training of other agents with whom I have communicated, it is necessary

to review and seize a variety of e-mail communications, chat logs and documents, that

identify any users of the subject account and e-mails sent or received in temporal

proximity to incriminating e-mails that provide context to the incriminating
communications.
REQUEST FOR NONDISCLOSURE AND SEALING

43. The government requests, pursuant to the preclusion of notice provisions of
Title 18, United States Code Sections 2421 and 1956; that Google, Inc. be ordered not to |
notify any person (including the subscriber or customer to which the materials relate) of
the existence of this warrant for such period as the Court deems appropriate. The
government submits that such an order is justified because notification of the existence of
this Order would seriously jeopardize the ongoing investigation. Such a disclosure would
give the subscriber an opportunity to destroy evidence, change patterns of behavior, :
notify confederates, or flee or continue his flight from prosecution.

44. It is further respectfully requested that this Court issue an order sealing,
until further order of the Court, all papers submitted in support of this application,
including the application and search warrant. I believe that sealing this document is
necessary because the records relate to an ongoing investigation that includes both United
States and foreign targets. Premature notice of investigation to any subj ect may

jeopardize investigation.

AFFIDAVIT OF JOSHUA ANDERSON - 12 UNITED STATES ATTORNEY

USAO #2017R01046 700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101

(206) 553-7970

 

 

 
 

So OH ND A BP WY NO

NO wo NO HN NY NY NY NY NO | | FF FE FOS Re RS So
oa AN Nn WA BPW NY K& CO ODO DWH ns HR A HR WY NO —- COC

 

 

Case 2:18-mj-00441-PLM Document1 Filed 09/21/18 Page 20 of 26

CONCLUSION
45. Based on the forgoing, I respectfully submit that there is probable cause
that the SUBJECT EMAIL ACCOUNTS contain evidence, fruits, and instrumentalities
of the following federal offenses: (a) Interstate and foreign travel or transportation in aid

of racketeering enterprises in violation of 18 U.S.C. § 1952; (b) Transportation for

|purposes of prostitution in violation of 18 U.S.C. § 2421; and (c) Money laundering in

violation of 18 U.S.C. § 1956. I therefore request that the Court issue the proposed
Search Warrant. Because the Search Warrant will be served on Google, Inc., who will
then compile the requested records at a time convenient to it, reasonable cause exists to
permit the execution of the requested Search Warrant at any time in the day or night.

46. This Court has jurisdiction to issue the requested warrant because it is “a
court of competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a),
(b)(1)(A) & (c)(1)(A). Specifically, the Court is “a district court of the United States...
that - has jurisdiction over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).
Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not
required for the service or execution of this warrant.

I declare under penalty of perjury that the statements above are true and correct to
the best of my knowledge and belief.

DATED this 2|% day of September, 2018.

Joshya Anderson, Affiant
Special Agent

Federal Bureau of investigation

SUBSCRIBED AND SWORN before me this a Vay of September, 2018.

ool L mC

THE HONORABLE PAULA L. MCCANDLIS
United States Magistrate Judge

AFFIDAVIT OF JOSHUA ANDERSON - 13 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
USAO #2017R01046 SEATTLE, WASHINGTON 98101

(206) 553-7970
 

Oo OH TDN nA BP WY NNO —

NH NO WH BH DH WH NH NY YN B= Se eS See
oo ~] N AN S Go. bo bond oS Oo coc ~~] nN Nn & eo i) ht oO

 

 

Case 2:18-mj-00441-PLM Document1 Filed 09/21/18 Page 21 of 26

ATTACHMENT A
GOOGLE, INC. ACCOUNTS TO BE SEARCHED
The electronically stored data, information and communications contained in,
related to, and associated with, including all preserved data associated with the following
Google, Inc. accounts, that are stored at premises controlled by Google, Inc., a company

that accepts service of legal process at 1600 Amphitheatre Parkway, Mountain View,

California: .
toddsmckennon@gmail.com, (Subject Account #1)
lindsayjmckennon@gmail.com and (Subject Account #2)
OliviaDreamLover@gmail.com (Subject Account #3)
ATTACHMENT A 1 [BMD Stari ATTORDEY

SEATTLE, WASHINGTON 98101
(206) 553-7970

 
 

wo FIN DH A BP }! NO

NO NO NH YN NY NH HN HN HN BB we mm ee me
aoa NN mH SP WH NY KF CO HO Dw HDi nm FP WO NO KB CO

 

 

Case 2:18-mj-00441-PLM Document1 Filed 09/21/18 . Page 22 of 26

ATTACHMENT B

I. Section I - Information to be disclosed by Google, Inc., for search:
| To the extent that the information described in Attachment A is within the
possession, custody, or control of Google, Inc., including any data, messages, records,
files, logs, or information that has been deleted but is still available to Google, Inc., or
has been preserved pursuant to a request made under 18 U.S.C. § 2703(f), Google, Inc. is
required to disclose the following information to the government for each account or
identifier listed in Attachment A:

a. All electronic mail content and/or preserved data (including e-mail,
attachments, and embedded files); |

b. All subscriber records associated with the specified account,
including 1) names, e-mail addresses, and screen names; 2) physical addresses; 3) records
of session times and durations; 4) length of service (including start date) and types of
services utilized; 5) telephone or instrument number or other subscriber number or
identity, including any temporarily assigned network address such as internet protocol
address, media access card addresses, or any other unique device identifiers recorded by
Google in relation to the account; 6) account log files (login IP address, account
activation IP address, and IP address history); 7) detailed billing records/logs; 8) means
and source of payment; and 9) lists of all related accounts;

Cc. all contact lists;

d. all Google Calendar content;
. e. all Google Drive content (including backups of any apps stored on
Google Drive; .

| f all Google Sheets content;
g. all Google Forms content;

h. all Google Apps Script content;

1. all Google Maps content;

j. all Google Photos content;
ATTACHMENT B - 1 _ UNITED STATES ATTORNEY
USAO #2017R01046 ' 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970

 
 

Oo Oe YN NH OH SP WD YH =

No NO N NH NHN NY HN YP NO RRR ow SS SO RS
of ~] NN AN > eS) bo bob So \O CO ~l On A & Ww NM bee ©

 

 

 

Case 2:18-mj-00441-PLM Document 1 Filed 09/21/18 Page 23 of 26

k. all Google Search Console content;
all Google Web & Activity content; -
m. all Google Chrome Sync content;

n. all Google Location History content;

0. all Google Developers Console content;

p. all Google Voice content;

q. all Android content;

r. all Google Alerts content;

S. all Google Profile content, including all Google+ content;

t. all account history, including any records of communications

between Google and any other person about issues relating to the accounts, such as
technical problems, billing inquiries, or complaints from other users about the specified
account. This to include records of contacts between the subscriber and the provider’s

support services, as well as records of any actions taken by the provider or subscriber in

connection with the service.

This Search Warrant also requires Google to produce the following information -
for accounts linked to the SUBJECT ACCOUNTS (collectively the “LINKED —
SUBJECT ACCOUNTS”): .

a. a list of all other Google accounts linked to the SUBJECT
ACCOUNTS because of cookie overlap; |

b. a list of all other Google accounts that list the same SMS phone .
number as the SUBJECT ACCOUNTS;

c. a list of all other Google accounts that list the same recovery e-mail

address as the SUBJECT ACCOUNTS;
d. and a list of all other Google accounts that shared the same creation

IP address the SUBJECT ACCOUNTS within 30 days of creation;

ATTACHMENT B - 2 . UNITED STATES ATTORNEY ~

700 STEWART STREET, SUITE 5220
USAO #2017R01046 SEATTLE, WASHINGTON 98101

(206) 553-7970

 
 

NY NY NHN NHN NN YY DR Nm Rm ie ei a inte
eo yA HD nH FW HY KF GST OO OH HD HW BP W BH KF CO

 

 

Case 2:18-mj-00441-PLM Document1 Filed 09/21/18 Page 24 of 26

e. Subscriber records for each of the Linked Subject Accounts
including 1) names, e-mail addresses, and screen names; 2) physical addresses; 3) records —

of session times and durations; 4) length of service (including start date) and types of

‘services utilized; 5) telephone or instrument number or other subscriber number or

identity, including any temporarily assigned network address such as internet protocol

address, media access card addresses, or any other unique device identifiers recorded by

Google in relation to the account; 6) account log files (login IP address, account

activation IP address, and IP address history); 7) detailed billing records/logs; 8) means
and source of: payment; and 9) lists of all related accounts.
f. All records and other information (not including the contents of

communications) relating to the Linked Subject Accounts, including: |

ik. Records of user activity for each connection made to or from
the Account(s), including log files; messaging logs; the date time, length, and method of
connections, data transfer volume; user names; and source and destination Internet
Protocol Addresses; cookie IDs; browser type;

il. Information about each communication sent or received by
the Account(s), including the date and time of the communication, the method of
communication, and the source and destination of the communication (such as source and
destination e-mail addresses, IP addresses, and telephone numbers);

iii. All records pertaining to devices associated with the accounts
to include serial numbers, model type/number, IMEI, phone numbers, MAC Addresses.
Il. Information to be seized by the government.

All information described above in Section I that constitutes fruits, contraband,
evidence and instrumentalities of (a) Interstate and foreign travel or transportation in aid
of racketeering enterprises in violation of 18 U.S.C § 1952; (b) Transportation for
purposes of prostitution in violation of 18 U.S.C. § 2421; and (c) Money laundering in
violation of 18 U.S.C. § 1956 those violations occurring between January 2017 to the

ATTACHMENT B - 3 . UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
USAO #2017R01046 . SEATTLE, WASHINGTON 98101

(206) 553-7970

 
0 OX DA WH BB wWwWN

BO bho NH WH HO HO HN KH HN Be BR mmm et
on nN HD A BFP WO NYO K§ CO OO fF TIT DH A BRB WO NH KF CO

 

 

Case 2:18-mj-00441-PLM Document1 Filed 09/21/18 Page 25 of 26

present, for each of the SUBJECT ACCOUNTS listed on Attachment A, and any linked
accounts, including the following:

a. Content that serves to identify any person who uses or accesses the
subject account or who exercises in any way any dominion or control over the account;

b. Content relating to planned, attempted, or successful breaches of or
intrusions into victims’ computers or networks;

C. Content relating to the creation, acquisition, transfer, sharing, testing
or sale of malicious software; |

d. Content related to computer programing, software operations, and
networking; |

e. Content relating to the acquisition, transfer, sharing, sale, or disposal
of servers, e-mail accounts, or other web services accounts used by the account holder or
co-conspirators to facilitate computer intrusions;

f. Content that identifies victims of computer intrusions perpetrated by

|| the account holder or co-conspirators:

. g. Content that constitute communications in furtherance of the crimes
enumerated above; © |
h. Content relating to the acquisition, transfer, distribution, sharing or

sale of stolen credit card, debit card, gift card, or payment card numbers;

1 Content that may identify assets including bank accounts,
commodities accounts, trading accounts, personal property and/or real estate that may
represent proceeds of computer intrusion activity or fraud or are traceable to such
proceeds;

j- Content that may reveal the current or past location of the individual
or individuals using the subject account; -

| k, Content that may reveal the identities of and relationships between

co-conspirators;

ATTACHMENT B - 4 - UNITED STATES ATTORNEY
USAO #2017R01046 700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970

 

 
So eH SN HD A BP WY NH

MYM NM NY YH NH NY KY NN HB Be He ee Se ee Re
CAI AA BP OHS =§ S © DIA UAB wH FO

 

 

Case 2:18-mj-00441-PLM Document1 Filed 09/21/18 Page 26 of 26

1. - Content that may identify any alias names, online user names,
“handles” and/or “nics” of those who exercise in any way any dominion or control over
the specified account as well as records or information that may reveal the true identities
of these individuals; |
. m. _ Other log records, including IP address captures, associated with the
specified account; . |

. n. Subscriber records associated with the specified account, including

1) names, e-mail addresses, and screen names; 2) physical addresses: 3) records of
session times and durations; 4) length of service (including start date) and types of
services utilized; 5) telephone or instrument number or other subscriber number or
identity, Including any temporarily assigned network address such as internet protocol
address, media access card addresses, or any other unique device identifiers recorded by
Google, Inc. in relation to the account; 6) account log files (login IP address, account
activation IP addresses, and IP address history); 7) detailed billing records/logs; 8) means
and source of payment; and 9) lists of all related accounts; |

oO. Records of ‘communications between Google, Inc. and any person
purporting to be the account holder about issues relating to the account, such as technical
problems, billing inquiries, or complaints from other users about the specified account.
This to include records of contacts between the subscriber and the provider’s support
services, as well as records of any actions taken by the provider or subscriber as a result
of the communications.

p. Android identification number, MEID, and cellular telephone

number
q. Information identifying accounts that are linked or associated with
the SUBJECT ACCOUNTS.
ATTACHMENT B - 5 UNITED STATES ATTORNEY
USAO #2017R01046 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970

 

 
